      Case 4:09-cv-00422-DPM Document 87 Filed 05/20/20 Page 1 of 2



               IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                         CENTRAL DIVISION

OLD REPUBLIC NATIONAL
TITLE INSURANCE COMPANY                                      PLAINTIFF

v.                       No. 4:09-cv-422-DPM

LANDMARK CLOSING COMPANY;
MARCI INGRAM; and FIRST COMMUNITY
BANK OF BATESVILLE                                      DEFENDANTS

                                ORDER
     The Court construes Old Republic's unopposed motion to renew
this Court's 26 May 2010 Consent Judgment, Doc. 85, as a motion for
scire facias, and grants the motion as modified. While scire facias means
to show cause, the writ must issue before the original judgment expires
by operation of law, and must be served promptly and properly on the
judgment debtor, for the Court to have authority to revive the judgment
in due course. ARK. CODE ANN. § 16-65-501; Rose v. Harbor East, Inc.,
2013 Ark. 496, 9-10, 430 S.W.3d 773, 779-80. Before 26 May 2020, Old
Republic must therefore prepare the writ and deliver it to the Clerk for
issuance. And the Court directs the Clerk to issue the writ forthwith.
Old Republic must serve the writ, and file proof thereof, as soon as
practicable.
 Case 4:09-cv-00422-DPM Document 87 Filed 05/20/20 Page 2 of 2



So Ordered.


                                   D.P. Marshall Jr.
                                   United States District Judge




                             -2-
